          Case 2:11-cr-00107-WFN             ECF No. 1217                    filed 10/05/12               PageID.5304 Page 1 of 1

«s,PS8
(12/04)


                               United States District Court
                                                                       for

                                              Eastern District of Washington



 U.S.A. vs.                     Cody Lee Poole                                         Docket No.                2:11CR00107-012




                                 Petition for Action on Conditions of Pretrial Release


        COMES NOW, Anne Sauther, pretrial services officer, presenting an official report upon the conduct of defendant,
Cody Lee Poole, who was placed under pretrial release supervision by the Honorable Cynthia Imbrogno sitting in the Court
at Spokane, WA, on the 5th day of October 2012, under the following conditions:

Condition #28: Prohibited Substance Testing: If random urinalysis testing is not done through a treatment program,
random urinalysis testing shall be conducted through pretrial services, and shall not exceed six (6) times per month

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                     (if short insert here; if lengthy write on separate sheet and attach.)


Violation #1: Cody Poole is considered to be in violation of his conditions of pretrial release by failing to provide a
urinalysis test on September 21, 2012.

                             PRAYING THAT THE COURT WILL ORDER A SUMMONS


                                                                                          I declare under penalty of perjury that
                                                                                          the foregoing is true and correct.

                                                                                          Executed on:         10/05/2012

                                                                                 by       s/Anne L. Sauther

                                                                                          Anne L. Sauther
                                                                                          U.S. Probation Officer




 THE COURT ORDERS


 [ ]       No Action
 [ ]       The Issuance of a Warrant
 [j/f      The Issuance of a Summons
 [ ]        Other

                                                                                             Signature of Judicial Officer

                                                                                           /O—0S-~7,ui c
                                                                                              Date
